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Notice and Claim

 

The Keller Court presents a Notice and Claim of Ty rvespass: Personal Injury;

 

1. Notice and Claim, Dated December 11th 2017.

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in
“federal district court”

at

“UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK”

t: a man;

 

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private prosecutor

 

 

Loewenguth, Mary C: a woman; wrongdoer:
d.b.a, CLERK OF COURT; Public Servant;
Fiductary-Trustee; Debtor

and

Healy, Patrick J: a man; wrongdoer: d.b.a.

  

CHIEF DEPUTY CLERK; Public Servant;
Fiductary-Trustee; Debtor;

{ verified }

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notice: “man’s right to pursue a claim”
{ cf. Private Right of Action }

 

The Keller Court presents notice:

Firstly: i: the living man, who goes by the copyrighted given/Trade Name ©Todd
Wheeler Keller, is the claimant, aggrieved party, and acting private
prosecutor regarding this business, attest that my lawful right, and basis
to prosecute and move “my case” { which contains my claim of trespass:
personal ingury } pursuant American common law of man, and the
Law of Peace, is that i require, wish and order the use of this venue, as
a “court of record” - land and sotl jurisdiction, to seat a jury: if needed,
in which 1 prosecute and move “my case” before, to determine and render
a verdict, as to what {wo}man has the lawful right to administer, restrain,

monopolize and/or interfere with property: trade; business; commerce;
»p Prop

 

 
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Secondly:

Thirdly:

Fourthly:

Fifthly:

Sixthly:

i, a man, declare that, my right(s) { property to pursue a claim

{ business } without the private and foreign codes, rules, procedures
of the Municipal/ Territorial “United States District Court” is
being trespassed. upon, wrongdoers failure to rebut, with fact and
law, under penalty of perjury, ts agreement and equitable estoppel;

i,a man, declare that, on September 7, 2017, 1 presented “my case”

{ which contained a claim of trespass: personal injury, and notice

 

declaring my right(s) { property } as man, to pursue and move “my
case” } into “federal postal district court,” a “court of record”: land and
soil jurisdiction, at “THE UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK”: international jurisdiction
of the sea: an inferior and foreign jurisdiction { Exhibit A }

i,a man, declare that, i received a notice, dated September 13, 2017,

by a woman going by the name ‘Mary C Loewenguth and a man going
by the name Patrick J Healy { hereinafter wrongdoers L stating “Your
case/ documents will not be filed in the Western District of New York. . .
you have not complied with the Federal Rules of Civil Procedure and/or
the Local Rules of this district.” { Exhibit B

t, aman declare that, { presented a second claim and notice, dated
September 15, 2017, to be filed into “federal district court,” a “court of
record” - land and soil (jurisdiction { Exhibit C

i, a man, declare that, in my aforementioned second notice, sent Certified
Mail, besides declaring my right(s) to pursue a claim, t required, that
any {wo}man wishing to cause me duress, and/or trespass upon { my }
property { “trespass upon my Case,” viz: business and the exercise of
right(s) } would agree to be held liable, and agree to compensate me one-
dollar for every second they wished to trespass; administer; interfere with;
restrain, etc, upon { my } property, thereby, agreeing to settle any certified
invoice billed to them { Exhibit C };

 

 
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Seventhly:

Fighthly:

Ninthly:

Tenthily:

Eleventhly:

t, aman, declare that, i received a second notice from said wrongdoers,
dated September 28, 2017, stating again, my case would not be filed “in
the Western District of New York” { Exhibit B };

i, aman declare that, as man NOT domiciled in the “Western District of
New York,” the “United States,” its territories or municipalities, iam NOT
required, nor do i wish/consent to use the private, foreign and copyrighted
codes, rules, procedures, etc, of said ‘foreign “district,” said wrongdoer’s
failure to rebut, with fact and law, under penalty of ‘perjury, is agreement
and equitable estoppel;

i, aman declare that, said wrongdoers have repeatedly { without right(s\/
consent } administered; interfered with; restrained and monopolized { my }
property { the exercise of right(s); trade; business; commerce: a “trespass
upon my Case” and i: man } by failing and/or refusing to allow me redress
in “federal district court,” a “court of record”: land and soil jurisdiction,
without the use of private, foreign copyrighted codes, rules and procedures
of the Municipal/ Territorial “United States District Court”: Inter-
national jurisdiction of the sea, said wrongdoer’s failure to rebut, with fact

and law, under penalty of perjury, is agreement and equitable estoppel;

i, a man, declare that, NO code, rule, procedure, statute, Federated State of
State statute, Public Policy, etc. of the Municipal/ Territorial “United
States District Court” can be enforced upon t: a man, nor can they be
enforced upon any of the Constitutional Union-states, viz: the land t and
my property are domiciled on, said wrongdoer’s failure to rebut, with fact
and law, under penalty of perjury, is agreement and equitable estoppel;

i, a man, declare that, there is a no law that prohibits Todd Wheeler
Keller: man, from moving “my case” into a “court of record”: land and soil
jurisdiction, without the use of codes, rules, procedures, etc, of said “US.
District Court,” said wrongdoer’s failure to rebut, with fact and law, under

penalty of. perjury, is agreement and equitable estoppel;

 

 
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Twelfthly:

Thirteenthly:

Fourteenthly:

F ifteenthly:

Sixteenthly:

i, aman declare that, any {wolman wishing to coerce me to move “my
case” under any code, rule, procedure, etc. of the “United States,” Inc.
district, court, its franchises or otherwise, ts causing me duress and
personal, injury and agrees to compensate me one-dollar a second { viz:
moment in Time } for this or ANY other personal injury;

i, a man, declare that, i have a right(s) to move and prosecute “my case”

{ which contains my claim of trespass: personal injury } into “federal

 

district court,” a “court of record”: land and sotl jurisdiction, ata public
courthouse { venue }, without the interference or restraint of {wo}man;
codes; rules, etc., wrongdoer’s failure to rebut, with fact and law, under

penalty of perjury, ts agreement and equitable estoppel;

The public courthouse, in where “my case” lies, is also known as a federal

district court;

The federal district court is ata location also referred to as:

« “Robert H. Jackson United States Courthouse”

- “THE UNITED STATES DISTRICT COURT WESTERN DISTRICT
OF NEW YORK”

+ “The district court of the united States”;

The Name of the public court house varies but, at all times “my case” lies
P Y
“in Federal Court”:

1, aman, require and wish for “my case” { which contains my claim

of trespass: personal injury, see Pg7 & 8 } to be filed on the American

 

common law side of the court, pursuant a “court of record”: land and
sotl jurisdiction, and the Law of Peace and is to be administered on the
private side = lawful side = man and ‘NOT the public side = legal side =
legal “PERSON”;

 

 
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Seventeenthly:

Fighteenthly:

Nineteenthly :

Th wentiethly:

Twenty-firstly:

Twenty-secondly:

i,a man, declare that no {wo}man, dbaa public servant; fiduciary-trustee;
employee, etc. of court, has the right or my consent to administer; interfere
with; restrain; monopolize, etc. { my } property: right(s); trade; business;
commerce tn a injurious capacity, anyone who wishes to do so agrees to
compensate me one-dollar for every second { viz: moment in Time } of

ANY trespass: personal injury { Notice of Liability b

In the event, my orders and invoices are not settled, on the private lawful
side and in a timely manner, i will then require and wish a “trial by jury”
{ Bill of Rights, Amendments/ Articles: 7; 9; 10 } be convened;

i, aman, take notice of the Oath of office of any {wokman administering
my property: right(s); business; commerce, etc. and gives Notice of
Liability { see Seventeenthly b

Robert H. Jackson is to be removed from said claim;

i, a man, require and wish that, the court take notice and address me and
“my case” by the proper appellation of my given/ Trade Name: Todd
Wheeler Keller and/or The Keller Court;

BE ADVISED: When addressing the living man: a birthright ‘American
state national as myself, of the continental united American States,
specifically the Unton-state known as new york -land/sotl jurisdiction,
in the foreign jurisdiction of the Federal “United States” or that of a
“Federal State,” and deliberately confuse a living man with corporate
franchises merely named after them you commit unlawful conversion,
personage, fraud, etc.; this results in press-ganging land assets into the
international jurisdiction of the sea, a crime outlawed world-wide for

200 years; itisa recognized act of inland piracy and it carries the
Death Penalty;

 

 
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Mischaracterizing the identity or citizenship status of a living
American state national of the continental united American States is
also an international war crime under the Geneva Protocols of 1949,

Volume 11, Article 3. It also carries the Death Penalty;

Twenty-thirdly: i, a man, by my will, move “my case” through this “federal district court”
by way of rights secured and protected to a man by the organic Bill of
Rights and the organic united States Constitution, Amendments/ Articles:

7; 9; 10 and pursuant the American common law of the land and man;

Twenty-fourthly: i, say here, to the best of my knowledge and belief, and will verify, in an
open “court of record” ~- land/sotl furisdiction, that all herein be true;

Done this 11th Day of December 2017;

 

 

Without the Munictpal/ Territorial United States, Inc.

 

 
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in
“federal district court”

at

“UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK”

 

aman: Todd Wheeler Keller: § declaration of wrong: trespass;
private prosecutor; § administered; restrained; monopolized
§ property-business without rights/consent}
8

Loewenguth, Mary C: a woman; wrongdoer:

d.b.a. CLERK OF COURT; Public Servant;

Nature of case: claim

{ personal injury }

 

Fiduciary-Trustee; Debtor
and

1:17-CV-1224-LJV

 

 

 

8

8

8

§
Healy, Patrick Jia man; wrongdoer: d.b.a. §
CHIEF DEPUTY CLERK; Public Servant; §
8

§

§

8

§

 

Fiductary-Trustee; Debtor
and

Other Wrongdoers: Federal Fiductary-T1 rustees- { verified claim }

Employees; Public Servants; Actors; Persons;
men; women; John Doe(s)/ JOHN DOE(s) 1-10;

 

i, require; wish and order: redress; a magistrate; “court of record”, “trial by jury”:

Blackstone Commentary Volume 3, Chapter 23, § 378;

The 1787 united American States Constitution: Article: 3, & Article 6, cl. 2; 3;
The 1791 united American States bill of rights: Articles: 5; 7; 9;

The 1846 New York State Constitution: Article: 1, §§ 2; 6 & Articles: 6, § 3;

 

 
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i,a man, the aggrieved party, claim that;
the said wrongdoer(s) trespass upon property;

the commencement of the wrong and injury began September 7, 2017, and

continues to this day;

the said wrongdoer(s) trespass comes by way of administering, restraining;

monopolizing property-business;

the trespass did, does and continues to injure property-business;

i, require, wish and order compensation for the initial and continual trespass

and infury upon property-business;

compensation due: Two million eight hundred seventy-five thousand dollars:
{ Exhibit D } { $2, 875, 000, 00 } each;

aman, verify on my own full commercial liability that t have read the above-

verified declaration of facts, and to the best of my knowledge, and belief do know

the contents, to be true, correct and complete, and not misleading, and do believe
that the above-described trespass and injury have been committed contrary to
law, i say here, and will verify in an open “court of record” - land/sotl
jurisdiction, that all herein be true;

Done this 11th Day of December 2017;

  

Without the Munictpal/ Territorial United States, Inc.

 

 
TODD WHEELER KELLER"

cio Todd-Wheeler: Keller

800 Exchange Street Road
Attica, New York: Nation-state
Private Non-domesuic

Postal Extension {14011-9998}

Bs =
UNITED STATES

SOSA Eee,
POSTAL SERVICE ©

 

A ja00

 

Mary Loewenguth & Patrick Healy
C/O United States Courthouse

2 Niagara Square

Butfalo, New York

Private Non-Domestic

Postal Extension {14202}

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